     Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
     Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 1 of 27



                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
In re:                                     : Chapter 7
                                           :
JAMES FITZGERALD BOWYER,                   : Case No. 19-13113(MDC)
                                           :
                        Debtor.            :
__________________________________________:
                                           :
THE KIM LAW FIRM LLC and                   :
RICHARD KIM,                               : Adv. No. 19-00200(MDC)
                                           :
                        Plaintiffs,        :
                                           :
            v.                             :
                                           :
JAMES FITZGERALD BOWYER,                   :
                                           :
                        Defendant.         :
__________________________________________:

               PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
          THEIR RESPONSE IN OPPOSITION TO DEBTOR/DEFENDANT JAMES
                  FITZGERALD BOWYER’S MOTION TO DISMISS
                     PLAINTIFFS’ ADVERSARY COMPLAINT

         Plaintiffs The Kim Law Firm, LLC (“KLF”) and Richard Kim (“RK”, collectively with

“KLF” are the “Plaintiffs”), by and through the undersigned counsel, hereby respond to

Debtor/Defendant James Fitzgerald Bowyer’s (“Defendant” or “Bowyer”) Motion to Dismiss

(“Def.’s Motion”) Plaintiff’s Complaint (the “Complaint”), and in support thereof, avers as

follows:

I.       PRELIMINARY STATEMENT

         As set forth in Plaintiffs’ Complaint (ECF 40), Bowyer has posted reviews online through

the use of various pen names asserting false allegations against Plaintiffs, and his defense to

those actions in the underlying state court action was to assert his privilege against self-



                                                1
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 2 of 27



incrimination. Those defamatory publications include ethnic attacks and slurs against RK for his

Asian heritage (including alleged inability to speak the English language); false claims of sexual

harassment lawsuits against Plaintiffs, despite there being none; and falsely representing that

Plaintiffs were going to be sued by the Federal Trade Commission (the “FTC”). Bowyer even

caused emotional harm to RK by falsely stating in communications to RK that he was subject to

an investigation by the Pennsylvania Disciplinary Board, which Bowyer knew was false.

Plaintiffs have included “screen shots” showing the content of the defamatory reviews within the

body of the Complaint, some of which are also set forth below. (ECF 40). As alleged in the

Complaint, when Defendant Bowyer made these assertions, he knew that they were all false.

Bowyer’s intent was simple – to destroy Plaintiffs’ reputation, emotional well-being and

business operations – and Bowyer was successful in his relentless campaign to cause the

Plaintiffs harm. As alleged in paragraphs 24-26 of the Complaint, Bowyer drafted a Manifesto

that he sent to RK pretending to be a prospective client, wherein Bowyer detailed his course of

conduct to RK and explained that the reason he was engaging in the course of conduct was to

destroy RK’s reputation and put his firm out of business.

       As if the false reviews defaming Plaintiffs were not enough, Bowyer engaged in an email

campaign using false names and created email accounts threatening to cause RK physical harm.

       Despite the clear wrongdoing, Bowyer argues that the Complaint should be dismissed as

a matter of law. Bowyer primarily contends that: (i) various paragraphs in the Complaint should

be stricken because they constitute privileged settlement communications; (ii) various paragraphs

and exhibits to the Complaint detailing admissions in the state court should be stricken because

they are prohibited by the Pennsylvania Rules of Civil Procedure; and that (iii) Plaintiff has

failed to demonstrate willfulness or maliciousness pursuant to Title 11 of the United States Code,



                                                2
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 3 of 27



Section 523(a)(6) (“Section 523(a)(6)”). As discussed further below, each of these arguments

fails because, among other reasons: (i) the purported settlement communications were actually

unsolicited admissions of guilt, which are not privileged communications; (ii) whether the

judicial admissions referenced in the Complaint are admissible is not the proper subject of a

motion to dismiss; (iii) the well pled facts in the Complaint in addition to the admissions

demonstrate Plaintiffs’ claims are exempt from discharge; and (iv) Plaintiffs have asserted

numerous facts demonstrating that Bowyer’s racist and defamatory posts constitute willful and

malicious conduct as required by Section 523(a)(6). The truth is simple, the Bankruptcy Code

provides a “fresh start” to honest debtors and is not intended to be a means for a Bowyer to

escape liability for conduct meant to destroy the Plaintiffs’ livelihood, as detailed in Bowyer’s

Manifesto. See Corcoran v. McCabe (In re McCabe), 559 B.R. 415, 427 (Bankr. E.D. Pa. 2016)

(holding that the “Bankruptcy Code’s central purposes is to permit honest debtors to reorder their

financial affairs and obtain a ‘fresh start,’ unburdened by the weight of preexisting debt…”)

(citation omitted.). Accordingly, Bowyer’s Motion must be denied in its entirety.

II.    STATEMENT OF FACTS

       Defendant is an attorney who has been licensed to practice law in the Commonwealth of

Pennsylvania since November 24, 2008, with PA Bar ID No. 208186, and was employed by KLF

from approximately September 2017 to November 2017. (ECF 40, ¶ 9). In November 2017,

Defendant was terminated from employment with KLF because quality of work product. (ECF

40, ¶ 10).

       From approximately March 2018 through June 2018, Plaintiffs were subjected to a

constant series of persistent harassment and threats by Bowyer, including, but not limited to the

following:



                                                3
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 4 of 27



       x   Posting of approximately 80 different online reviews containing false and defamatory

           reviews about Plaintiffs, where Bowyer used fake names and email addresses, while

           posing as prospective and former clients of Plaintiffs;

       x   Sending emails to Plaintiffs threatening physical harm and lawsuits, where Bowyer

           used fake names and email addresses to send the harassing content;

       x   Calling Plaintiffs and pretending to be prospective clients so that Plaintiffs could

           expend time and resources to investigate the alleged claims made by Bowyer posing

           as prospective client;

       x   Using Plaintiffs’ name and email address to sign them up for numerous website

           newsletters which resulted in over 1,000 spammed emails to be sent to him. In fact,

           Plaintiffs still receive some of these emails to this very day; and

       x   Using RK’s personal telephone number to send him numerous and extensive “spam”

           text messages.

(ECF 40, ¶ 11).

       Bowyer’s Defamatory and False Reviews

       The harassing false and defamatory reviews by Bowyer claimed that RK could not speak

English fluently, spoke with a “Chinese” accent, and could not effectively communicate with

clients; that Plaintiffs stole money from clients; that Plaintiffs were subject to sexual harassment

claims; and that multiple complaints were filed against Plaintiffs with various federal and state

agencies such as the FTC. (ECF 40, ¶ 12). All of these claims by Bowyer are false and

defamatory. (ECF 40, ¶ 12). The sole intent for the publication of these false statements was to




                                                 4
    Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
    Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 5 of 27



cause (which it did) reputational and financial harm. (ECF 40, ¶ 11-12). Bowyer posted these

reviews on Google, Facebook, Avvo, Yelp and Martindale-Hubble.1

        For example, some of Bowyer’s reviews in May 2018 consisted of the following false

and defamatory statements:




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       For the sake or brevity, Plaintiffs have not recited each and every defamatory statement
that was posted by Bowyer, as they are set forth in the Complaint.

                                                5
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 6 of 27




                                       6
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 7 of 27




(See id., ¶ 21).

        As detailed throughout the Complaint, the names used by Defendant Bowyer to post the

reviews online were never prospective clients, actual clients, or employees of KLF. (ECF 40).

The representations made by the Bowyer under these aliases is false and defamatory. (ECF 40, ¶

12). Bowyer created these false names and reviews to harm Plaintiffs’ reputation and undermine

their business. (ECF 40, ¶ 12). Only after the expenditure of significant time and resources were

Plaintiffs able to eventually have some of the reviews that were posted by Bowyer removed.

(ECF 40, ¶ 41).

        Despite the eventual removal of some of those May 2018 reviews, with repeated

precision, typically within 24 hours of a review being removed, Bowyer would then have new

false and defamatory reviews posted. (ECF 40, ¶ 42). Not only would Bowyer post new reviews

taking the place of the reviews that were removed, but he would include additional new false and

defamatory reviews. (ECF 40, ¶ 42). Bowyer’s reviews (posted under different pen names)

continued to consist of false and defamatory statements claiming that: (i) RK is fluent in

Mandarin and violated an immigration work visa; (ii) Plaintiffs sexually harassed employees;

(iii) Plaintiffs stole money from clients; and that (iv) Plaintiffs are racist and “only” represent

Chinese clients. (ECF 40, ¶ 40). Bowyer posted all of these reviews knowing they were false,

especially given RK’s Korean (and not Chinese) heritage. (ECF 40, ¶ 40).




                                                7
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 8 of 27



       Bowyer was so obsessed with harming Plaintiffs’ reputation and business, that he even

posted reviews online to undermine existing positive reviews posted by actual clients of KLF.

(ECF 40, ¶¶ 25-28). In June 2018, KLF Plaintiffs had positive reviews posted on Google from

former clients Gary Moretsky and Raman Patel. (ECF 40, ¶ 44). Bowyer, however, attempted to

undermine those positive reviews by publishing false and defamatory reviews under the same

names of the actual clients, and claimed that the new reviews were “updates”. (ECF 40, ¶¶ 44-

45). The real Gary Moretsky and Raman Patel never posted the negative reviews which are

claimed to be “updates”. (ECF 40, ¶¶ 44-45). If a reviewer on Google desires to change a prior

published review, there is no need to post an entirely new review. (ECF 40, ¶ 45). The author of

the review may simply edit the prior review. (ECF 40, ¶ 45). Defendant Bowyer’s behavior and

reviews extended to posts on Avvo as well.

       In May 2018, Defendant Bowyer wrote “anonymous” reviews that were set forth in

paragraphs 52 of the Complaint, including stating that Mr. Kim is a first generation Chinese

immigrant.

       Bowyer’s Emails and Telephone Calls to Plaintiffs

       While Bowyer was posting the false and defamatory reviews noted above, Bowyer was

also sending Plaintiffs numerous disturbing emails claiming, among other things, that Plaintiffs

were the subject of “sexual harassment” claims would soon be filed against them along with a

“soon pending” disciplinary action by the Pennsylvania Disciplinary Board. (ECF 40, ¶ 58)

       Bowyer also sent an email from the created email account of “Wanda Xing”

(shiongingXing453Xing@gmail.com). (ECF 40, ¶ 59.). That email was initially written in the

context of being a potential client, but then threatened Plaintiffs by stating that there was a sexual

harassment claim that was going to be filed against them.



                                                  8
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 9 of 27



       During Bowyer’s time of employment with Plaintiffs, it was discussed on several

occasions that RK resided within only a few blocks of “Trader Joes” located at 21st and Market

in Philadelphia, PA. (ECF 40, ¶ 65). Bowyer used that knowledge to send Plaintiffs an email

threatening to harm RK. On May 10, 2018, Bowyer sent an email under the pen name “Jackie

J.”. That email from Bowyer stated the following:

                             [remainder of page intentionally left blank]




                                              9
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 10 of 27




(ECF 40, ¶ 64).

       On May 24, 2018, Bowyer sent another email to Plaintiffs under the name “Marcus

Reuter”, the same exact name that he used in posting a false and defamatory Google review,



                                           10
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 11 of 27



which is set forth above. Marcus Reuter, like the other “reviewers”, was never a prospective

client or actual client of Plaintiffs, and no complaint, let alone multiple complaints, were ever

filed with the FTC. (ECF 40, ¶ 61).

       Bowyer also used RK’s personal cell phone number to send him spam text messages. RK

received approximately 50 if not more spammed text messages that were caused to be sent by

Bowyer. (ECF 40, ¶¶ 11, 67). Plaintiffs lost significant time, business and revenue over the

months that Bowyer was engaging in his criminal and lawless behavior. Plaintiffs also expended

significant finances in attempting to remove the false and defamatory statements published

online by Bowyer. (ECF 40, ¶ 68).

       Bowyer’s Admissions and the Information from the Subpoenas

       Bowyer attempted to mask the fact that he was the author of the published false and

defamatory statements, some of which are referenced above, by using fake email addresses and

fake names (i.e., pen names). (ECF 40, ¶ 69). Although Bowyer attempted to further shield his

identity by masking his Internet Protocol address (“IP Address”) through the use of a Virtual

Private Network (“VPN”), he was unsuccessful in hiding his identity. (ECF 40, ¶ 70). Plaintiffs

served foreign subpoenas upon Facebook, Google, and Avvo, and the responses to those

subpoenas revealed the IP addresses of the anonymous posters, some of which were obscured by

the use of a VPN. (ECF 40, ¶ 71). Some of the IP addresses, however, were not obscured by a

VPN and they all pointed back to Bowyer as the author of the anonymous postings. (ECF 40., ¶

71).

       The John Doe defendant initially named in this Action was later identified as Mr. Bowyer

in a reissued writ of summons, which was personally served upon Mr. Bowyer on September 10,

2018 at 7:43 p.m. (ECF 40, ¶ 72). On the evening of September 10, 2018, Mr. Bowyer sent text



                                               11
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 12 of 27



messages to RK, which admitted he was the author of the defamatory postings. (ECF 40, ¶ 73).

One of the text messages from that night states the following:

       I swear on my life I will make this right. I will do whatever it takes. But please
       Rich, I can’t mentally or physically handle a court case. It will literally kill me.
       Please give me the chance to make this right. I swear to god [sic] everything
       has changed for me after my hospitalization. I just want to be thankful to god
       [sic] that I’m still here and be good to my wife, that’s it. Please let me make this
       right…

(See id., ¶ 73) (emphasis added.)

       The same night the texts were sent, Bowyer also reaffirmed his wrongdoing in a

voicemail left on the cell phone of RK. (ECF 40, ¶ 75). Further confirming his guilt, on

September 17, 2018, an attorney named Sidney Gold, Esquire called undersigned counsel, stating

he was counsel calling on behalf of for Mr. Bowyer and that Mr. Bowyer had admitted to being

the author of the online postings. (ECF 40, ¶ 76).

       On May 29, 2018, Plaintiffs filed a Complaint against Bowyer in the Philadelphia Court

of Common Pleas (the “State Court Action”). (ECF 3, Exhibit “1”). Plaintiffs alleged, like in

this case, that Bowyer committed the intentional torts of defamation; commercial disparagement;

intentional infliction of emotional distress and identity theft.      Bowyer filed Preliminary

Objections to the Second Amended Complaint on February 4, 2019 arguing that each of the

claims should be dismissed and that the alleged settlement negotiations were inadmissible should

be stricken from the Complaint. By Order dated February 28, 2018, the Honorable Gary Glazer

overruled each of Bowyer’s preliminary objections. Bower filed an Answer to the Second

Amended Complaint on April 2, 2019, which consisted of general denials of the allegations of

the Second Amended Complaint, followed by the invocation of the Fifth Amendment privilege

against self-incrimination. (ECF 40, ¶ 16). Bowyer failed to produce discovery and after

significant motion work Bowyer was required to produce discovery to Plaintiffs or face


                                                12
    Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
    Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 13 of 27



sanctions. (ECF 40, ¶¶ 17-20). The afternoon that Bowyer was required to produce the court

ordered discovery, including all of his electronic devices with their passwords, he filed for

Bankruptcy protection. (ECF 40, ¶ 28).

         On October 11, 2019, Plaintiff filed the Adversary Complaint to have the claims of

Plaintiffs exempted from discharge. (ECF 40). On November 14, 2019, Bowyer filed the

present Motion (ECF 6). On November 21, 2019, Bowyer filed a Notice of Motion. (ECF 7).

III.     ARGUMENT

            a. Standard of Review

         Defendant moves to dismiss Plaintiff’s claims under Federal Rule of Civil Procedure

12(b)(6) (“Rule 12(b)(6)”).3 The standard of review for a motion to dismiss under Rule 12(b)(6)

is an extremely liberal standard favoring plaintiffs. The basis for this liberality is to allow a

determination to be made on the full merits of the case. Dole v. Arco Chem. Co., 921 F.2d 484,

486 (3d Cir. 1990). Generally, in the context of a 12(b)(6) motion, “[w]hen a federal court

reviews the sufficiency of a complaint, before the reception of any evidence either by affidavit or

admissions, its task is necessarily a limited one. The issue is not whether a plaintiff will

ultimately prevail but whether the claimant is entitled to offer evidence to support the claims.”

Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). Thus, in order for a motion to dismiss for failure

to state a claim to be appropriately granted it must be “clear that no relief could be granted under

any set of facts that could be proved consistent with the allegations.” Swierkiewicz v. Sorema,

NA, 534 U .S. 506, 514 (2002) (citation omitted).

         Moreover, when a court undertakes its limited task in reviewing a complaint when

considering a motion to dismiss, the court must accept as true all allegations in the Complaint
3
       Rule 12(b)(6) “is made applicable to bankruptcy adversary proceedings by Federal Rule
of Bankruptcy Procedure 7012.” Stambaugh v. Stambaugh (In re Stambaugh), 533 B.R. 449, 453
(Bankr. M.D. Pa. 2015).

                                                13
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 14 of 27



and draw all reasonable inferences in the light most favorable to Plaintiff. Evancho v. Fisher,

423 F.3d 347, 350 (3d Cir. 2005). Beyond the mandate that the court must accept all well-pled

allegations of the complaint as true, any ambiguities or doubts concerning the sufficiency of the

claim must be resolved in favor of the Plaintiff. See Hishon v. King & Spalding, 467 U.S. 69, 73

(1984). “The inquiry is not whether [Plaintiff] will ultimately prevail in a trial on the merits, but

whether [he] should be afforded an opportunity to offer evidence in support of [his] claims.” In

re Rockefeller Ctr. Props., Inc. Sec. Litig., 311 F.3d 198, 215 (3d Cir. 2002). The Third Circuit

has made clear that “[a] well-pleaded complaint may proceed even if it appears ‘that a recovery

is very remote and unlikely.’” Umland v. PLANCO Financial Services, Inc., 542 F.3d 59, 64 (3d

Cir. 2008) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).

           b. Plaintiffs’ Complaint Complies with Rule 12(f) and Does Not Contain
              Redundant, Immaterial, Impertinent, or Scandalous Matter.

       Federal Rule of Civil Procedure 12(f) (“Rule 12(f)”) allows courts to strike from a

pleading “any redundant immaterial, impertinent, or scandalous matter.” A Rule 12(f) motion to

strike matter from a pleading is disfavored generally. See, e.g., Miller v. Group Voyagers, Inc.,

912 F. Supp. 164, 168 (E.D. Pa. 1996); North Penn Transfer, Inc., v. Victaulic Co. of Amer., 859

F. Supp. 154, 158 (E.D. Pa. 1994); Great West Life Assur. Co. v. Levithan, 834 F. Supp. 858, 864

(E.D. Pa. 1993); Charles A. Wright et al., Federal Practice and Procedure § 1380 at 647 (2d ed.

1995) [hereafter “Fed. Prac. & P.”]. For that reason, courts have required the moving party to

demonstrate prejudice in order to justify an order to strike matter from a pleading. See, e.g.,

Miller, 912 F. Supp. at 168; North Penn Transfer, Inc., 859 F. Supp. at 158; Great West Life

Assur. Co., 834 F. Supp. at 864; Fed. Prac. & P. § 1382 at 682.




                                                 14
    Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
    Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 15 of 27



         Pursuant to Rule 12(f), Defendant argues for the dismissal of the Complaint by broadly

claiming that “the Second Amended Complaint [sic] 4 contains several allegations that are

scandalous and impertinent....” (Def.’s Motion, pgs. 5-6). Although Defendant has claimed that

Plaintiffs’ Complaint includes “scandalous” allegations, Bowyer has failed to cite any language

from the Complaint that is outrageous, or how that language has caused any prejudice. if

Defendant is referencing Bowyer’s racist and defamatory conduct, reciting the facts detailing

those actions are appropriate to demonstrate the basis of Plaintiffs’ allegations as well as to

support the request for punitive damages. See Hutchinson v. Luddy, 870 A.2d 766, 770 (Pa.

2005) (quoting Feld v. Merriam, 485 A.2d 742, 747 (Pa. 1984)); see also Hoffman v. Paper

Converting Machine Co., 694 F.Supp.2d 359, 374 (E.D.Pa. 2010) (“Under Pennsylvania law,

punitive damages are appropriately awarded when a defendant’s conduct is outrageous due to

evil motive or reckless indifference to the rights of others.”) (citation omitted) (emphasis added.).

Punitive damages are not compensatory in nature but are meant “to heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly

egregious.” Phillips v. Cricket Lighters, 883 A.2d 439, 446 (Pa. 2005). As such, any reference to

Bowyer’s conduct is directly relevant to establishing punitive damages and is not scandalous or

impertinent.

         As explained further below, the only viable basis for asserting any portion of the

Complaint to be stricken under Rule 12(f) is claiming that certain portions of the Complaint are

immaterial. Defendant’s arguments, however, still fail as he fails to establish that the purported

paragraphs are immaterial or how they are prejudiced. At best, they claim that a jury might be



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        There was only the initial Complaint that was filed in this case. It is therefore assumed
that Defendant’s repeated references to the “Second Amended Complaint” are intended to be
directed to Plaintiff’s Complaint.

                                                 15
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 16 of 27



“inflamed,” but that is a premature issue to be considered by way of motion in limine, not a

motion to dismiss.

                     i.   Paragraphs 73-80 Do Not Constitute Confidential Settlement
                          Communications Under Federal Rule of Evidence 408.

       Defendant argues that Paragraphs 73-78 of the Complaint should be stricken as

immaterial since they cannot be introduced as evidence pursuant to Federal Rule of Evidence

408 (“FRE 408”). (Def’s Motion, pgs. 6-9).           As explained below, those paragraphs were

unprovoked admissions and did not accompany any settlement offer. Those paragraphs in the

Complaint state as follows:


       73.    On the evening of September 10, 2018, Mr. Bowyer sent text messages to
       RK, which admitted he was the author of the defamatory postings. One of the
       text messages from that night states the following:

              I swear on my life I will make this right. I will do whatever it
              takes. But please Rich, I can’t mentally or physically handle a
              court case. It will literally kill me. Please give me the chance to
              make this right. I swear to god [sic] everything has changed for
              me after my hospitalization. I just want to be thankful to god [sic]
              that I’m still here and be good to my wife, that’s it. Please let me
              make this right…

       74.   On the evening of September 10, 2018, Bowyer also reaffirmed his
       wrongdoing in a voicemail left on the cell phone of RK.

       75.     Bowyer’s September 10, 2019 voicemail stated in relevant part: “I want to
       make this right. I never thought anything was going to court. I was just bluffing.
       I got bad advice from one of the attorneys. . . . I just want everything to go away.
       I want my case - - I want to make this right. . . . Listen, please let me make this
       right with you. I will try everything. I will make this right for you. . . . I never
       thought it was going to go this far. . . . I just want to do the right things. I just
       want to get a second chance for life.”

       76.     On September 17, 2018, an attorney Sidney Gold, Esquire called the
       Plaintiffs’ counsel, stating he was calling on behalf of Mr. Bowyer and that Mr.
       Bowyer had admitted to being the author of the online postings.




                                                16
 Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
 Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 17 of 27



        77.      Subsequently, on or about October 8, 2018, Bowyer admitted that he could
        not recall all of the places he signed Plaintiffs up for emails and calls from and he
        requested that Plaintiffs provide him with a list of all places from which they are
        still being contacted.

        78.    On or about October 8, 2018, Bowyer also admitted that he used a “burner
        phone” to engage in the activities described above and that he did not have a
        record of everything he had done to Plaintiffs.

(emphasis added) (ECF 40).

        Bowyer’s argument is unpersuasive and fails to recognize the facts of this case. Federal

Rule of Evidence 408 governs the admissibility (or lack thereof) of settlement communications.

Bowyer’s communications, however, are not privileged settlement communications under Rule

408, but were admissions of guilt and a plea for mercy. See Federal Rule of Evidence 804(b)(3)

(“A statement which was at the time of its making so far contrary to the defendant’s pecuniary or

proprietary interest, or so far tended to subject the declarant to civil or criminal liability or to

render invalid a claim by the declarant against another, that a reasonable person in the

declarant's position would not have made the statement unless believing it to be true…”); Rain v.

Pavkov, 357 F.2d 506, 509 (3d Cir. 1966) (“It is the general rule that a plea of guilty to a charge

of reckless driving is an admission against interest, and evidence thereof is admissible in an

action for personal injuries based upon the same facts and circumstances from which the charge

arose. ”).

        Bowyer never provided any potential terms to resolve the action – either financial and/or

equitable. Bowyer made the confession in the hope that his admission of guilt would result in

some type of mercy or leniency from Plaintiffs. “I will do whatever it takes” was not a

settlement offer, but a hope of clemency. The inception of settlement negotiations involves a

discussion of the strengths and weaknesses of a case, along with proposed equitable and

monetary relief that are appropriate given those considerations. Settlement communications do


                                                 17
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 18 of 27



not involve a flat-out admission of guilt unaccompanied by any offer to resolve a lawsuit. Again,

there was no proposed settlement terms in any of Bowyer’s communications – they were simply

an admission of guilt with a request for leniency.

       Defendant has cited several cases in support of his contention that paragraphs 73-78

should be considered privileged settlement communications, thus stricken from the Complaint:

Bergman v. Jefferson-Pilot Life Ins. Co., No. 03-4459, 2003 U.S. Dist. LEXIS 23689, 2003 WL

23142155, at *1 (E.D. Pa. Dec. 30, 2003); Scott v. Twp. of Bristol, No. 90-1412, 1991 U.S. Dist.

LEXIS 3303, 1991 WL 40354, at *5 (E.D. Pa. Mar. 20, 1991); Agnew v. Aydin Corp., No. 88-

3436, 1988 U.S. Dist. LEXIS 9911, 1988 WL 92872, at *4 (E.D. Pa. Sept. 6, 1988). Each and

every one of those cases is distinguishable from this matter materially because they did not

involve a situation where a party flatly confessed guilt, which is not a settlement communication

but an admission.

       If any portions of the subject paragraphs are considered settlement communications

(which they are not), then only the language that actually consists of the privileged

communications should be stricken with Bowyer’s admissions being allowed to be introduced

into evidence. See Vinson v. Humana, Inc., 190 F.R.D. 624, 627 (M.D.Fla. 1999) (stating that

information not pertaining to substance of communications is outside scope of privilege). Here,

the only arguable settlement communication in the paragraphs would be when Bowyer is

referenced as having written “I will do whatever it takes”.

       Accordingly, there is no basis to strike any of the paragraphs requested by Bowyer from

the Complaint as being settlement communications.




                                                18
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 19 of 27



                  ii.   Bowyer has No Basis for Striking Paragraphs Referencing His
                        Admissions in the State Court Action.

       Bowyer does not argue that references to his Manifesto (ECF 40, ¶¶ 24-26), wherein he

explained in writing what actions he took and why he took them, cannot be made in the

Complaint. Instead, Bowyer argues that it is inappropriate to allege that Bowyer judicially

admitted to sending the Manifesto by virtue of requests for admissions being deemed admitted,

which is a premature evidentiary argument that should be raised in a motion in limine. Bowyer

cannot escape the well pled allegations that he is the author of the Manifesto, wherein he

explains in detail that he was trying to destroy Plaintiff’s business and make sure RK never

obtained another client. (ECF 40, ¶¶ 24-26).

       A Bankruptcy Court is permitted to review occurrences and references to any related case

that may assist in evaluating a claim under Title 11 of the United States Code, Section 523(a)(6)

(“Section 523(a)(6)”). The evaluation of related actions assists a Bankruptcy courts determine

the existence of willfulness and maliciousness, discussed further below. See Ross v. Stranger (In

re Stranger), 2013 Bankr. LEXIS 5068, at *2 (Bankr. M.D. Fla. Nov. 5, 2013); Stambaugh v.

Stambaugh (In re Stambaugh), 533 B.R. 449, 454 (Bankr. M.D. Pa. 2015).

       In Stranger, a debtor moved to dismiss a plaintiff’s claim under Section 523(a)(2)(A) for,

among other reasons, because factual support of the adversary complaint was based on an

underlying state court action. The court in Stranger determined that reliance on a related state

court action was proper for it to evaluate the plaintiff’s Section 523(a)(2)(A) and held that

“Plaintiff may permissibly rely on attached and incorporated materials in support of her

claim…”. Ross v. Stranger (In re Stranger), 2013 Bankr. LEXIS 5068, at *2 (Bankr. M.D. Fla.

Nov. 5, 2013). The Court went on to further state that “[a]ll of those allegations [from the state

court action]…support the elements of a § 523(a)(2)(A) claim. And because the allegations were


                                               19
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 20 of 27



incorporated in the Complaint herein, the Court finds that Plaintiff has sufficiently pleaded a

cause of action under § 523(a)(2)(A).” Id.

       Similarly, in Stambaugh, the debtor moved to dismiss a plaintiff’s claim under Section

523(a)(2)(A) for, among other reasons, because of the plaintiff’s use of documents and docket

entries in a separate Chapter 13 case. The court determined that it was proper for plaintiff to rely

on these documents and docket entries and reasoned as follows:

       When considering a motion to dismiss, the court considers the complaint, as well
       as attached exhibits and matters of public record. Fed. R. Bankr.P. 7010
       (incorporating Fed. R. Civ. P. 10(c) ). Pension Ben. Guar. Corp. v. White Consol.
       Industries, Inc., 998 F.2d 1192, 1196 (3d Cir.1993); Taylor v. Henderson, 2015
       WL 452405, *1 (D.Del., Jan. 30, 2015). Also, Federal Rule of Evidence 201
       allows the court to take judicial notice of facts that are not subject to reasonable
       dispute. A bankruptcy court may take judicial notice of the docket entries in a
       case and the contents of the bankruptcy schedules to determine the timing and
       status of case events as well as facts not reasonably in dispute. In re Harmony
       Holdings, LLC, 393 B.R. 409, 413 (Bankr.D.S.C. 2008); In re Paolino, 1991 WL
       284107, *12, n. 19 (Bankr.E.D.Pa., Jan. 11, 1991). I will take judicial notice of
       the dockets in the Debtor's underlying Chapter 13 case and in this Adversary
       Proceeding. I will take judicial notice of the contents of the bankruptcy schedules
       which are not in dispute.

Stambaugh v. Stambaugh (In re Stambaugh), 533 B.R. 449, 454 (Bankr. M.D. Pa. 2015)

       Here, considering the attachments and admissions in the State Court Action will allow

this Court to properly consider Plaintiff’s claim that Bowyer’s liability is not exempt from

discharge pursuant to Section 523(a)(2)(A). Furthermore, during Bowyer’s partial deposition in

the State Court Action, Bowyer continuously stated in response to Plaintiffs’ questions that he

would not respond based on the 5th Amendment. (ECF 40, ¶ 28). Thus, it is anticipated that

Bowyer will again plead the 5th Amendment, entitling Plaintiffs to an adverse inference at the

time of trial that Bowyer was the author of all of the postings and communications, and that this

Motion was filed to delay filing an answer to the Complaint.




                                                20
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 21 of 27



       Bowyer has failed to demonstrate the necessary prejudice in alleging details of the

Manifesto at this time. See, e.g., Miller, 912 F. Supp. at 168; North Penn Transfer, Inc., 859 F.

Supp. at 158; Great West Life Assur. Co., 834 F. Supp. at 864; Fed. Prac. & P. § 1382 at 682. At

best, Bowyer claims that these facts might “inflame” a jury, but that argument does not

demonstrate prejudice at this stage of litigation and should be the subject of a motion in limine.

       Accordingly, there is no basis to strike Plaintiffs’ references to Bowyer’s Manifesto or

accompanying attachments to the Complaint.

           c. Bowyer Willfully and Maliciously Injured Plaintiff.

       A review of the Manifesto, demonstrates unequivocally that Bowyer engaged in the

course of conduct in order to cause willful and malicious injury to Plaintiffs. (ECF 40, ¶¶ 26,

60). Bowyer spells out in his Manifesto exactly what he did and what the intent was of his

course of conduct – to cause a malicious injury. (ECF 40, ¶¶ 26, 60).

       Section 523(a)(6) provides that “[a] discharge under section 727, 1141, 1228(a), 1228(b),

or 1328(b) of this title does not discharge an individual debtor from any debt . . . for willful and

malicious injury by the debtor to another entity or to the property of another entity.” 11 U.S.C. §

523(a)(6). In order to constitute a willful injury under 11 U.S.C.S. § 523(a)(6), the United States

Court of Appeals for the Third Circuit has held that a debtor must act with the purpose of

producing injury or with substantial certainty of producing injury.” Corcoran v. McCabe (In re

McCabe), 559 B.R. 415, 427 (Bankr. E.D. Pa. 2016) (citing In re Conte, 33 F.3d 303, 307 (3d

Cir. 1994)).

       Malice, on the other hand, “encompasses an injury that is ‘wrongful and without just

cause or excuse, even in the absence of personal hatred, spite or ill-will.’” In re Malloy, 535 B.R.

81, 89 (Bankr. E.D. Pa. 2015) (quoting In re Jacobs, 381 B.R. 128, 136, 138–39 (Bankr. E.D. Pa.



                                                21
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 22 of 27



2008) aff'd, 2016 WL 2755593 (E.D. Pa. May 11, 2016)). “The burden of proving that a debt is

nondischargeable under § 523(a) is upon the creditor, who must establish entitlement to an

exception by a preponderance of the evidence.” In re Cohn, 54 F.3d 1108, 1114 (3d Cir. 1995)

(citing Grogan v. Garner, 498 U.S. 279, 287–88, 111 S.Ct. 654, 112 L.Ed.2d 755 (1991)).

       Here, Plaintiffs have asserted a cavalcade of facts establishing that Bowyer willfully and

with malice injured Plaintiff. The Manifesto alone establishes Bowyer’s actions were taken so

that Plaintiffs “will never obtain a single customer ever again” and to “destroy [Plaintiffs’]

business.” (ECF 40, ¶¶ 26, 60). The defamatory reviews were set forth in the Complaint (ECF

40), as well as the Second Amended Complaint that was attached as Exhibit “1” to the

Complaint. Those defamatory reviews by Bowyer were false because they claimed RK could

not speak English fluently, that RK spoke with a “Chinese” accent, and could not effectively

communicate with clients; that Plaintiffs stole money from clients; that Plaintiffs were subject to

sexual harassment claims; and that multiple complaints were filed against Plaintiffs with various

federal and state agencies such as the FTC.

       Despite the plain and egregious wrongdoing by Bowyer, he now incorrectly alleges that

Plaintiffs’ Complaint must be dismissed because “Plaintiffs’ Complaint relies upon the request

for admissions in alleging that Defendant acted willfully and maliciously.” (Def.’s Motion, pg.

14). Bowyer ignores that the underlying facts that the State Court deemed admitted were alleged

in the Complaint, thus for the purposes of pleading, it is immaterial whether those allegations

were deemed admitted and have a res judicata effect. Bowyer is trying to take what should be a

motion in limine and convert it into a motion to dismiss. As noted above, and further below, the

willful and malicious actions of Bowyer are alleged all throughout the Complaint and do not




                                                22
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 23 of 27



solely rely on the Request for Admissions in the State Court Action. The information regarding

Bowyer’s admission that he sent the Manifesto merely serves to supplement Plaintiffs’ claims.

       The purpose of the Bankruptcy Code would not be served by allowing an individual like

Bowyer – whose liability is premised on intentional torts engaged in for the purpose of

destroying a lawyer’s career – avoid prosecution based on Plaintiffs’ allegations. See Corcoran

v. McCabe (In re McCabe), 559 B.R. 415, 427 (Bankr. E.D. Pa. 2016) (holding that the

“Bankruptcy Code’s central purposes is to permit honest debtors to reorder their financial affairs

and obtain a ‘fresh start,’ unburdened by the weight of preexisting debt…”).

       Accordingly, Bowyer has no basis to request that any portion of the Complaint be

stricken.

            d. Plaintiffs’ have Properly Alleged a Claims for Defamation, Commercial
               Disparagement, and Identity Theft

       Bowyer argues that Plaintiffs failed to set forth underlying prima facia causes of action,

but fails to even argue the Plaintiffs did not set forth causes of action for identity theft. Thus,

Bowyer has not sought to dismiss the Complaint on the basis it does not assert a claim for willful

and malicious injury caused by identity theft. As explained below, Plaintiffs alleged prima facie

cases of defamation and commercial disparagement.

       Bowyer argues that Plaintiffs’ defamation claims should be dismissed. (Def.’s Motion,

pgs. 14-15.) Like Bowyer’s other arguments, this position has no merit. A claim for defamation

consists of a showing of the following elements: (i) the defamatory character of the

communication; (ii) its publication by the defendant; (iii) its application to the plaintiff; (iv) the

understanding by the recipient of its defamatory meaning; (v) The understanding by the recipient

of it as intended to be applied to the plaintiff; (vi) special harm resulting to the plaintiff from its

publication; and, if applicable (vii) abuse of a conditionally privileged occasion. 42 Pa.C.S.


                                                  23
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 24 of 27



8343. Plaintiffs have alleged a prima facie case of each and every element of their defamation

claim within the Complaint. Here, Plaintiffs have stated the exact text of the defamatory reviews

that were published online by Bowyer.         Those defamatory reviews by Bowyer were false

because they claimed RK could not speak English fluently, that RK spoke with a “Chinese”

accent, and could not effectively communicate with clients; that Plaintiffs stole money from

clients; that Plaintiffs were subject to sexual harassment claims; and that multiple complaints

were filed against Plaintiffs with various federal and state agencies such as the FTC. Those false

reviews are not ambiguous and were understood by all individuals that read them. And without

question, those false and defamatory statements published by Bowyer harmed Plaintiffs’

reputation and standing in the community, caused personal humiliation, and mental anguish and

suffering.

       Bowyer’s willful and malicious actions are precisely the type of wrongdoing that Section

8343 was intended to protect against.        Bowyer engaged in a scorched earth campaign of

character assassination to destroy Plaintiffs’ life and livelihood, and as alleged in the Complaint,

Bowyer was successful in causing extreme harm. Now that the time has come to face the

consequences of his actions, Bowyer attempts to evade the merits of this case. As noted above, a

motion to dismiss requires Plaintiffs’ facts to be taken as true.

       Plaintiffs’ Complaint has specifically cited the exact false and defamatory statements that

were made, the months that they were made, the reasons they were false and defamatory, the pen

names used by Bowyer to in posting those reviews, and the different forums (Google, Avvo, etc.)

the false reviews were published. In the face of all these details it is not credible for Bowyer to

claim that these facts were not cited. Further, as noted above, Bowyer is well-aware of the

wrongdoing asserted against him as he has admitted to this wrongdoing. For Bowyer to



                                                 24
    Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
    Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 25 of 27



proclaim that the Complaint is so lacking in specificity requiring that it be dismissed is not

supported by law.6

         Likewise, Plaintiffs have properly alleged a claim for commercial disparagement.7 Under

Pennsylvania law, a plaintiff must show that the defendant published a statement about plaintiff’s

business that was: (i) false; (ii) that the publisher either intended the publication to cause

pecuniary loss or reasonably should have recognized that publication would result in pecuniary

loss; (iii) the pecuniary loss did in fact result; and (iv) the publisher either knew the statement

was false or acted in reckless disregard of its truth or falsity. Pro Golf Mfg., Inc. v. Tribune

Review Newspaper Co., 809 A.2d 243 (Pa. 2002) (citing Restatement (Second) of Torts §

623(A)). As set forth above, Plaintiffs have alleged in the Complaint that Bowyer has published

online numerous false statements regarding Plaintiffs including their: ability to practice law; theft

of client funds; sexual harassment claims; lawsuit by the FTC; immigration work status; and

ability to communicate fluently in English. Plaintiffs have also alleged that Bowyer intended

and caused pecuniary loss, and that Bowyer knew that his statements were false (see above

discussion of Bowyer’s mental health).

         Accordingly, Bowyer has no basis for requesting that the Court dismiss these claims.

            e. Plaintiffs’ have Properly Alleged for Intentional Infliction of
               Emotional Distress.

         Defendant alleges that Plaintiff’s claim for intentional infliction of emotional distress

should be dismissed as a matter of law. (Def.’s Motion, pgs. 16-18). Section 46 of the


6
       Even if Bowyer’s arguments had any merit, which they do not, dismissal of any claims
for lacking specificity is not the correct relief to request. The requested relief should be
dismissal of the count with leave to amend.
7
      In Def.’s Motion, Bowyer claims that Plaintiff has not established a cause of action for
defamation. Ironically, however, Bowyer fails to discuss in any respect Plaintiffs’ claims for
commercial disparagement claim or identity theft.

                                                 25
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 26 of 27



Restatement (Second) of Torts states that a claim for intentional infliction of emotional distress is

established through a showing of “extreme and outrageous conduct intentionally or recklessly

causes severe emotional distress to another is subject to liability for such emotional distress, and

if bodily harm to the other results from it, for such bodily harm.” See Taylor v. Albert Einstein

Medical Center, 754 A.2d 650 (Pa. 2000). Def.’s Motion once again misses the mark in

requesting dismissal of this claim as RK has set forth in the Complaint numerous instances of

intentional wrongful conduct by Bowyer which caused RK extreme emotional distress.

        Here, RK has alleged the following facts that constitute Bowyer’s outrageous conduct: (i)

that Bowyer posted numerous reviews constituting racist slurs against RK, including but not

limited to the false assertions that RK only represents Chinese clients; that RK speaks only

Mandarin; that RK is subject to some type of immigration Visa; (ii) false allegations of sexual

harassment suit being lodged against RK; (iii) attorney misconduct; and (iv) sent RK emails

claiming that RK was subject to a suit by the FTC; and (v) Bowyer even threatened RK

physically. This threat and the false assertions were intentionally made to torture and harass RK.

Furthermore, Bowyer published these false representations online so that he could destroy RK’s

livelihood as an attorney. For Bowyer to argue that his outrageous actions did not cause RK

significant emotional distress ignores the facts that were pled. The truth is, Bowyer’s actions are

the exact type of situation that a plaintiff is intended to utilize a claim for intentional infliction of

emotional distress.

        Accordingly, Bowyer has no factual or legal basis to request the dismissal of this claim.

            f. Plaintiffs Properly Served the Complaint.

        Bowyer asserts the technical argument that this action should be dismissed because,

despite his attorney being served by ECF and Federal Express, he was not properly served with



                                                   26
Case 19-00200-mdc Doc 9-1 Filed 12/02/19 Entered 12/02/19 20:08:24 Desc
Memorandum of Law in Support of Plaintiffs Opposition to Defendants Page 27 of 27



the Complaint because he received it by Federal Express and not “first class mail”. (Def.’s

Motion, pg. 18). As explained below, this technical argument is now moot, as Bowyer was

served via first class mail. See ECF 8. Federal Rule of Bankruptcy Procedure Rule 7004

provides that service of a complaint may be made by first class mail or by the methods set forth

in Federal Rule of Civil Procedure Rule 4(e)-(j) (“Rule 4”). Rule 4(e)(2)(A), (B) and (C)

provides that service may be effectuated by: delivering a copy of the complaint to the individual

personally; by leaving a copy at the individual’s dwelling; or by delivering a copy of each to an

agent authorized by law to receive service. Plaintiffs served a copy of the Complaint to Bowyer

personally by Federal Express, which is proper personal service pursuant to Rule 4(e)(2)(A).

       More importantly, the Bowyer’s technical argument is now moot because Bowyer was

served the Complaint by first class mail, as demonstrated by the certificate of service filed with

the Court on November 11, 2019 at ECF 8. Bowyer was served with the Complaint by first class

mail within 120 days, as required by Bankruptcy Rule 7004. (ECF 8). Accordingly, there is no

basis for dismissing Plaintiffs’ Complaint for any alleged failure to serve the Complaint.

IV.    CONCLUSION

       For the reasons set forth above, Defendant’s Motion should be denied in its entirety.

                                                     Respectfully submitted,

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                                                27
